                3:23-cv-03266-CRL-KLM # 1            Filed: 09/01/23      Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                 SPRINGFIELD DIVISION

 WILLIAM ROBINSON,                                       )
                                                         )
        Plaintiff,                                       )      Case: 3:23-cv-03266
                                                         )
        v.                                               )
                                                         )
 WINGS OVER LINCOLNLAND, INC.,                           )
                                                         )
        Defendant.                                       )      Jury Trial Demanded
                                                         )


                                           COMPLAINT

       Plaintiff, William Robinson (“Plaintiff”), by and through the undersigned counsel, hereby

files this Complaint against Wings Over Lincolnland, Inc., (“Defendant”), and in support states

as follows:

                             NATURE OF PLAINTIFF’S CLAIMS

       1.     This lawsuit arises under the Americans with Disabilities Act of 1990, as amended,

(“ADA”) seeking redress for Defendant’s discrimination on the basis of Plaintiff’s disability,

Defendant’s failure to accommodate Plaintiff’s disability, Defendant’s disability-based

harassment, and Defendant’s retaliation against Plaintiff for engaging in a protected activity under

the ADA.

                                 JURISDICTION AND VENUE

       2.       Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331. This action

is authorized and instituted pursuant to 42 U.S.C. §12101 et seq.

       3.       Venue of this action properly lies in the Central District of Illinois, pursuant to 28

U.S.C. §1391(b) insofar as Defendant operates and transacts business in this judicial district and
               3:23-cv-03266-CRL-KLM # 1              Filed: 09/01/23    Page 2 of 8




the events giving rise to Plaintiff’s claims occurred within this District.

                            ADMINISTRATIVE PREREQUISITES

       4.      All conditions precedent to jurisdiction under the Americans with Disabilities Act

of 1990, 42 U.S.C. §12101, et seq. have occurred or been complied with.

       5.      A charge of employment discrimination on basis of disability and retaliatory

discharge was filed by Plaintiff with the Equal Employment Opportunity Commission (“EEOC”)

(attached hereto as Exhibit “A”).

       6.      Plaintiff received a Notice of Right to Sue from the EEOC (attached hereto as

Exhibit “B”), and Plaintiff filed this lawsuit within ninety (90) days of Plaintiff’s receipt of the

EEOC’s Notice of Right to Sue.

                                             PARTIES

       7.      At all times material to the allegations of this Complaint, Plaintiff, William

Robinson, resided in Sangamon County in the State of Illinois.

       8.      At all times material to the allegations in this Complaint, Defendant, Wings Over

Lincolnland, Inc., was a corporation doing business in and for Sangamon County whose address

is 2315 North Dirksen Parkway, Springfield, IL 62702.

       9.      Plaintiff was employed by Defendant as an “employee” within the meaning of

ADA, 42 U.S.C. §12111(4).

       10.     During the applicable limitations period, Defendant has had at least fifteen

employees, has been an “employer” as defined by ADA, and has been engaged in an industry

affecting commerce within the meaning of 42 U.S.C. §12111(5)(A).

                                     BACKGROUND FACTS

       11.     Plaintiff worked for Defendant as a Cook from April 1, 2023 until his unlawful


                                                  2
                 3:23-cv-03266-CRL-KLM # 1             Filed: 09/01/23    Page 3 of 8




termination on or around May 17, 2023.

       12.       Plaintiff’s essential job duties were included but not limited to:

                Preparing food for customer orders;
                Cleaning and preparing fryers;
                Coordinating with other staff members; and
                Maintaining kitchen area

       13.       Plaintiff suffers from hearing and vision impairments that substantially limit one

or more major life activities.

       14.       Defendant knew of Plaintiff’s disabilities and regarded him as disabled.

       15.       Plaintiff was qualified to perform the essential duties of his job with or without

reasonable accommodations.

       16.       Plaintiff is a “qualified individual” as defined under the ADA.

       17.       Plaintiff requested a reasonable accommodation in the form of time off to attend

just two doctor’s appointments—one to adjust his hearing aids and one to check his vision.

       18.       Rather than engage in the interactive process, Defendant refused to grant

Plaintiff’s request for reasonable accommodations and instead, Manager Mike (Last Name

Unknown) sent Plaintiff home and terminated Plaintiff’s employment.

       19.       There was no legitimate business purposes for Defendant’s conduct.

       20.       Defendant failed to accommodate Plaintiff’s disability, despite Plaintiff’s

reasonable request for time off to attend Doctor’s visits.

       21.       Defendant also subjected Plaintiff to harassment based on his disability.

       22.       Manager Mike (Last Name Unknown) said to Plaintiff “you are unreliable,” “you

are unreliable because of your health,” “I am sending you home; if Crystal brings you back I will

                                                   3
               3:23-cv-03266-CRL-KLM # 1              Filed: 09/01/23    Page 4 of 8




send you home again,” and ‘I don’t want those people in my restaurant.”

        23.     Ultimately, on or about May 17, 2023 Plaintiff was terminated on the basis of

Plaintiff’s disability and for engaging in a protected activity as described above.

        24.     Defendant treated its non-disabled employees more favorably, and did not fire

those employees for requesting time off for medical appointments.

                                              COUNT I
                           Violation of the Americans with Disabilities Act
                                  (Disability-Based Discrimination)

        25.     Plaintiff repeats and re-alleges paragraphs 1-24 as if fully stated herein.

        26.     By virtue of the conduct alleged herein, Defendant intentionally discriminated

against Plaintiff based on Plaintiff’s disability in violation of the Americans with Disabilities Act

of 1990, 42 U.S.C. §12101, et seq.

        27.     Plaintiff met or exceeded performance expectations.

        28.     Plaintiff was treated less favorably than similarly situated employees outside of

Plaintiff’s protected class.

        29.     Defendant terminated Plaintiff’s employment on the basis of Plaintiff’s disability

or perceived disability.

        30.     Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless violation

of the ADA.

        31.     Plaintiff is a member of a protected class under the ADA, due to Plaintiff’s

disability.

        32.     Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

        33.     As a direct and proximate result of the discrimination described above, Plaintiff


                                                  4
                3:23-cv-03266-CRL-KLM # 1              Filed: 09/01/23   Page 5 of 8




has suffered and continues to suffer loss of employment, loss of income, loss of employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation, and loss

of enjoyment of life.

                                            COUNT II
                         Violation of the Americans with Disabilities Act
                                    (Failure to Accommodate)

       34.      Plaintiff repeats and re-alleges paragraphs 1-24 as if fully stated herein.

       35.      By virtue of the conduct alleged herein, Defendant engaged in unlawful

employment practices by failing to accommodate Plaintiff’s disability in violation of the

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §12101 et seq.

       36.      Plaintiff is a qualified individual with a disability.

       37.      Defendant was aware of the disability and the need for accommodations.

       38.      Defendant failed to engage in the interactive process to determine the appropriate

accommodations after Plaintiff requested reasonable accommodations.

       39.      Plaintiff’s reasonable accommodations that was requested was not an undue burden

on Defendant.

       40.      Defendant did not accommodate Plaintiff’s disability.

       41.      Plaintiff is a member of a protected class under the Americans with Disabilities Act

of 1990, as amended, 42 U.S.C. §12101 et seq., due to Plaintiff’s disability.

       42.      Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

       43.      As a direct and proximate result of the failure to accommodate described above,

Plaintiff has suffered and continues to suffer loss of employment, loss of income, loss of other

employment benefits and has suffered and continues to suffer mental anguish, distress,

humiliation, and loss of enjoyment of life.



                                                   5
               3:23-cv-03266-CRL-KLM # 1              Filed: 09/01/23    Page 6 of 8




                                          COUNT III
                        Violation of the Americans with Disabilities Act
                                (Disability-Based Harassment)

       44.     Plaintiff repeats and re-alleges paragraphs 1-24 as if fully stated herein.

       45.     By virtue of the conduct alleged herein, Defendant engaged in unlawful

employment practices and harassed Plaintiff on the basis of Plaintiff’s disability in violation of the

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §12101 et seq.

       46.     Defendant knew or should have known of the harassment.

       47.     The disability-based harassment was severe or pervasive.

       48.     The disability-based harassment was offensive subjectively and objectively.

       49.     Plaintiff is a member of a protected class under Americans with Disabilities Act of

1990, as amended, 42 U.S.C. §12101 et seq., due to Plaintiff’s disability.

       50.     Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

       51.     As a direct and proximate result of the harassment described above, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation, and loss of

enjoyment of life.

                                           COUNT IV
                        Violation of the Americans with Disabilities Act
                                          (Retaliation)

       52.     Plaintiff repeats and re-alleges paragraphs 1-24 as if fully stated herein.

       53.     Plaintiff is a member of a protected class under 42 U.S.C. §12101, et seq.

       54.     During Plaintiff’s employment with Defendant, Plaintiff requested reasonable

accommodations in the form of time off to attend two doctor’s appointments.

       55.     As such, Plaintiff engaged in protected conduct and was protected against unlawful



                                                  6
               3:23-cv-03266-CRL-KLM # 1             Filed: 09/01/23    Page 7 of 8




retaliation by Defendant under the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et

seq.

       56.     By virtue of the foregoing, Defendant retaliated against Plaintiff based on Plaintiff

requesting reasonable accommodations, thereby violating the Americans with Disabilities Act of

1990, 42 U.S.C. §12101, et seq.

       57.     Plaintiff suffered an adverse employment action in retaliation for engaging in

protected activity.

       58.     Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

       59.     As a direct and proximate result of the retaliation described above, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation, and loss of

enjoyment of life.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court find in Plaintiff’s

favor and against Defendant as follows:

               a.      Back pay with interest;

               b.      Payment of interest on all back pay recoverable;

               c.      Front pay;

               d.      Loss of benefits;

               e.      Compensatory and punitive damages;

               f.      Reasonable attorneys’ fees and costs;

               g.      Award pre-judgment interest if applicable; and

               h.      Award Plaintiff any and all other such relief as the Court deems just and


                                                 7
              3:23-cv-03266-CRL-KLM # 1             Filed: 09/01/23   Page 8 of 8




                      proper.

                                DEMAND FOR JURY TRIAL

        Plaintiff hereby requests that all issues be submitted to and determined by a jury.

Dated this 1st day of September, 2023.

                                             /s/ Travis P. Lampert ______
                                             TRAVIS P. LAMPERT, ESQ.
                                             IL Bar No.: 99843
                                             SULAIMAN LAW GROUP LTD.
                                             2500 S. Highland Avenue, Suite 200
                                             Lombard, Illinois 60148
                                             Phone (630) 581-5456
                                             Fax (630) 575-8188
                                             tlampert@sulaimanlaw.com
                                             Attorney for Plaintiff




                                                8
